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                                   3                                   UNITED STATES DISTRICT COURT

                                   4                              NORTHERN DISTRICT OF CALIFORNIA

                                   5                                          SAN JOSE DIVISION

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                                   7     JESSICA DOMINGUEZ, et al.,                           Case No. 18-cv-04826-BLF
                                   8                     Plaintiffs,
                                                                                              ORDER GRANTING IN PART AND
                                   9              v.                                          DENYING IN PART PLAINTIFFS’
                                                                                              ADMINISTRATIVE MOTION FOR
                                  10     CITY OF SAN JOSE, et al.,                            USE OF ELECTRONIC, LARGE
                                                                                              EQUIPMENT AND DEMONSTRATIVE
                                  11                     Defendants.                          EVIDENCE FOR TRIAL
                                  12                                                          [Re: ECF No. 72]
Northern District of California
 United States District Court




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                                  14          Before the Court is Plaintiffs’ Administrative Motion requesting the Court’s authorization

                                  15   of the use of various materials at trial in this civil rights case related to the shooting death of Jacob

                                  16   Dominguez by San Jose Police Department officers. See Administrative Motion, ECF No. 72.

                                  17   Plaintiffs seek to bring the following materials into the courtroom for trial: (1) approximately eight

                                  18   boxes containing documents for trial, including transcripts; (2) one or two laptop computers, as well

                                  19   as any necessary cables; (3) if necessary, one projector, one Elmo, and one screen; and (4) a

                                  20   demonstrative (the “Demonstrative”) three-dimensional “mock-up” of the driver’s side door and

                                  21   cabin of the Kia Sportage vehicle (the “Vehicle”) in which Mr. Dominguez was sitting when he was

                                  22   allegedly shot by police officers.       See Administrative Motion, ECF No. 72 at 1–2.               The

                                  23   Demonstrative, which Plaintiffs have yet to construct and expect to be “very expensive and time

                                  24   consuming,” see id. at 5, is a 60 x 30 x 55-inch contraption on a rolling cart. See Crowley Decl.,

                                  25   ECF No. 72-1, Ex. A. The Vehicle was disposed of by Defendants after Plaintiffs served their intent

                                  26   to sue. See id. at 4–5; Crowley Decl., ECF No. 72-1, Ex. C.

                                  27          Defendants do not object to Plaintiffs bringing to the courtroom the first, second, or third

                                  28   materials at issue in Plaintiffs’ request. See Opposition, ECF No. 74 at 1. However, Defendants do
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                                   1   object to the Demonstrative, arguing that there is no foundation for the Demonstrative’s fairness and

                                   2   accuracy; it would be misleading to the jury; Plaintiffs failed to disclose the Demonstrative to

                                   3   Defendants or provide Defendants an opportunity to conduct discovery into it; and Plaintiffs did not

                                   4   seek any remedy for the Vehicle’s unavailability. See Opposition, ECF No. 74 at 2–5. Given

                                   5   Defendants’ objections, Plaintiffs reserve the use of the Demonstrative at trial and instead request

                                   6   permission to produce the Demonstrative and have a pre-trial hearing on its use at trial. See Reply,

                                   7   ECF No. 75.

                                   8          The Court GRANTS Plaintiffs’ unopposed requests to bring the boxes of documents and

                                   9   computers into the courtroom for trial. The Court DENIES AS MOOT Plaintiffs’ request to bring

                                  10   a projector, Elmo, and screen, since these items are available in the courtroom. The Court DENIES

                                  11   Plaintiffs’ request to (1) use the Demonstrative at trial and (2) produce the Demonstrative in court

                                  12   and have a pre-trial hearing on its use at trial. Based on the dimensions of the Demonstrative
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                                  13   Plaintiffs have provided, the Demonstrative will simply be too large to fit in the courtroom. See

                                  14   Crowley Decl., ECF No. 72-1, Ex. A. To spare Plaintiffs the “very expensive and time consuming”

                                  15   process of constructing a Demonstrative that will be impracticable for use at trial, see Administrative

                                  16   Motion, ECF No. 72 at 5, the Court denies Plaintiffs’ requests to produce and use the Demonstrative

                                  17   in the courtroom.

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                                  19   Dated: June 29, 2022

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                                                                                        BETH LABSON FREEMAN
                                  21                                                    United States District Judge
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